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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


RACHEL M. THOMPSON,

                      Plaintiff,

       v.                                              Case No.: 2:16-cv-734
                                                       JUDGE GEORGE C. SMITH
                                                       Magistrate Judge Jolson

GENERAL REVENUE CORPORATION,

                      Defendant.


                                   OPINION AND ORDER

       This matter is before the Court upon Defendant General Revenue Corporation’s Motion

to Certify Decision for Interlocutory Appeal (“GRC’s Motion”) (Doc. 31). GRC’s Motion asks

the Court to certify for interlocutory appeal, under 28 U.S.C. § 1292(b), its previous Order

denying GRC’s Motion for Judgment on the Pleadings. (Doc. 27). GRC’s Motion is fully

briefed and ripe for disposition. For the following reasons, GRC’s Motion is DENIED.

                                   I.      BACKGROUND

       This case arises from a July 31, 2015 dunning letter sent by GRC to Plaintiff Rachel

Thompson for a $959.00 debt that was allegedly owed by Thompson to Columbus State

Community College. (Doc. 2, Am. Compl. at ¶¶ 15, 17). The letter also sought interest of

$18.37 and a “Collection Cost Balance” of $429.07. (Id.).

       Thompson commenced an action in this Court under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq., asserting GRC’s dunning letter contained false

representations regarding the amount of the principal balance and GRC’s ability to recover the

collection costs. GRC alleges that it sent the letter because the Ohio Attorney General certified
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Plaintiff’s account for collection, specifying the amounts for both the underlying debt and the

collection fee.   (Doc. 3, Ver. Answer at ¶¶ 17, 18, 20).      The Ohio Attorney General was

collecting the debt on behalf of Columbus State (where Thompson was a student) pursuant to

Ohio Revised Code § 131.02(A). (Id. at ¶ 17). GRC further alleges that it is a Third Party

Collection Vendor for the Ohio Attorney General and that it assists in collecting debts for the

Ohio Attorney General. (Id.).

        In its Motion for Judgment on the Pleadings (Doc. 5), GRC argued that it was permitted

to rely on the Attorney General’s representations as to the amount of the principal balance and

was not required by the FDCPA to conduct an independent investigation into the amount and

validity of the debt. GRC also argued that the collections fee is statutorily allowed by Ohio

Revised Code § 131.02(A), which concerns “Collecting amounts due to state.” The statute sets

forth the procedure by which a state institution like Columbus State certifies debts to the

Attorney General for collections, noting:

        if the amount is not paid within forty-five days after payment is due, the officer,
        employee, or agent shall certify the amount due to the attorney general, in the
        form and manner prescribed by the attorney general, and notify the director of
        budget and management thereof.

Id.   If the amount is due to a college like Columbus State, the timing of certification is

moderately different but ultimately not germane to this matter. Id. However, the statute also

provides that, “[t]he attorney general may assess the collection cost to the amount certified in

such manner and amount as prescribed by the attorney general.” Id.

        This Court denied GRC’s Motion for Judgment on the Pleadings on August 2, 2017.

(Doc. 27). In that Order, the undersigned held that (1) the FDCPA does not permit a debt

collector to rely on the creditor’s information regarding an alleged debt without meeting the

other requirements for use of the bona fide error defense provided by 15 U.S.C. § 1692k(c); and


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(2) Ohio Revised Code § 131.02 does not permit the Ohio Attorney General to charge an

unlimited and unreviewable amount of collection costs and to seek remittance for those costs

from the debtor.

          On September 7, 2017, GRC filed the present Motion asking the Court to certify for

interlocutory appeal, under 28 U.S.C. § 1292(b), the August 2, 2017 Order denying GRC’s

Motion for Judgment on the Pleadings.

    II.        STANDARD FOR CERTIFICATION FOR INTERLOCUTORY APPEAL

          28 U.S.C. § 1292(b) provides:

          When a district judge, in making in a civil action an order not otherwise
          appealable under this section, shall be of the opinion that such order involves a
          controlling question of law as to which there is substantial ground for difference
          of opinion and that an immediate appeal from the order may materially advance
          the ultimate termination of the litigation, he shall so state in writing in such order.

Thus, in determining whether to certify a matter for interlocutory appeal, the Court must decide

whether “(1) the order involves a controlling question of law, (2) a substantial ground for

difference of opinion exists regarding the correctness of the decision, and (3) an immediate

appeal may materially advance the ultimate termination of the litigation.” In re City of Memphis,

293 F.3d 345, 350 (6th Cir. 2002). The Sixth Circuit has cautioned that appellate review under

§ 1292(b) is to be “granted sparingly and only in exceptional cases.” Id. at 350. “The burden of

showing exceptional circumstances justifying an interlocutory appeal rests with the party seeking

review.” DRFP, LLC v. Republica Bolivariana de Venezuela, 945 F. Supp. 2d 890, 918 (S.D.

Ohio 2013) (Sargus, J.) (quoting Trimble v. Bobby, No. 5:10–CV–00149, 2011 WL 1982919, at

*1 (N.D. Ohio May 20, 2011)).

                                         III.    DISCUSSION

          GRC asserts that both of the Court’s holdings in its August 2, 2017 Order meet the

standard for interlocutory appeal under § 1292(b). The Court disagrees. All three prongs must

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be satisfied before an order may be certified for interlocutory appeal. While the Order does

involve controlling questions of law, such that they “could materially affect the outcome of the

case,” In re City of Memphis, 293 F.3d at 350, and while it is possible that an interlocutory

appeal could render unnecessary the costs associated with Thompson’s class action allegations

and thus materially advance the ultimate termination of the litigation, the Court does not find that

a substantial ground for difference of opinion exists regarding the correctness of the decision.

The Court examines the difference of opinion prong for each of its holdings in turn.

A.     Debt collector’s inability to rely on creditor’s information

       The first holding at issue is that the FDCPA does not permit a debt collector to rely on the

creditor’s information regarding an alleged debt without meeting the other requirements for use

of the bona fide error defense provided by 15 U.S.C. § 1692k(c). (Doc. 27, Order at 9). In

reaching this holding, the Court reviewed and rejected GRC’s interpretation of the relevant case

law. Namely, GRC primarily relied on Smith v. Transworld Sys., Inc. for the proposition that

debt collectors are not required to undertake an independent investigation as to the amount and

validity of the debt. 953 F.2d 1025, 1032 (6th Cir. 1992). However, as pointed out in the Order:

       GRC misunderstands Smith. While Smith does state that “[t]he statute does not
       require an independent investigation of the debt referred for collection,” Smith
       noted that in place of an independent investigation, “the FDCPA requires ‘the
       maintenance of procedures reasonably adapted to avoid any such error.’” Id.
       (quoting 15 U.S.C. § 1692k(c)). Essentially, Smith held that a debt collector need
       not do an independent investigation of the legality of the underlying debt so long
       as the debt collector “employs procedures reasonably adapted to prevent errors in
       amounts referred for collection.” Id.

           In essence, the Smith decision reinforced that compliance with the bona fide
       error defense in 15 U.S.C. § 1692k(c) is sufficient to overcome a claim under the
       FDCPA. The bona fide error defense consists of the following:

           [a] debt collector may not be held liable in any action brought under this
           subchapter if the debt collector shows by a preponderance of evidence that
           the violation was not intentional and resulted from a bona fide error


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           notwithstanding the maintenance of procedures reasonably adapted to
           avoid any such error.”

       15 U.S.C. § 1692k(c). Courts have subsequently parsed out a three part test for
       the bona fide error defense: “a debt collector must prove by a preponderance of
       the evidence that the violation was unintentional, that it was the result of a bona
       fide error, and that the debt collector maintained procedures to avoid the error.”
       Currier v. First Resolution Inv. Corp., 762 F.3d 529, 537 (6th Cir. 2014) (citing
       Hartman v. Great Seneca Fin. Corp., 569 F.3d 606, 614 (6th Cir. 2009)).

(Doc. 27, Order at 8–9).

       In order to bolster its assertion that a difference of opinion exists with regard to whether

debt collectors may rely on information obtained from creditors, GRC cites in the present motion

additional case law from this Circuit that purportedly conflicts with this Court’s decision. See

Michael v. Javitch, Block & Rathbone, LLP, 825 F. Supp. 2d 913, 921 (N.D. Ohio 2011);

Richeson v. Javitch, Block & Rathbone, LLP, 576 F. Supp. 2d 861, 868 (N.D. Ohio 2008); Kafele

v. Javitch, Block, Eisen & Rathbone, LLP, No. 2:03 CV 638, 2004 WL 5178125, at *10 (S.D.

Ohio Sept. 27, 2004) (Holschuh, J.); Mathena v. Bank of New York Mellon, No. 16-11195, 2016

WL 6893780, at *6 (E.D. Mich. Nov. 23, 2016).

       But while each of these cases does state that an independent investigation is not required,

each ultimately traces authority for that statement back to Smith. And none of these decisions

holds that a debt collector may rely on a creditor’s information without satisfying the

requirements of the bona fide error defense. In other words, GRC has failed to identify any

conflicting authority to suggest a reasonable ground for difference of opinion regarding the

correctness of the Court’s first holding.

B.     Ohio Attorney General’s ability to assess collection costs against debtor

       The second holding at issue is that Ohio Revised Code § 131.02 does not permit the Ohio

Attorney General to charge an unlimited and unreviewable amount of collection costs and to

seek remittance for those costs from the debtor. (Doc. 27, Order at 15). The Court determined

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that the statute in question, Ohio Revised Code § 131.02, was ambiguous and that Thompson and

GRC each put forth “reasonable but not unambiguous readings of the statute.” (Id. at 11).

Although the Court ultimately rejected GRC’s reading, GRC asserts that the parties’ different yet

reasonable readings of the statute are sufficient grounds to find a difference of opinion.

       But the difference of opinion required by § 1292(b) cannot be satisfied merely by

conflicting opinions of the litigants on opposite sides of the case. In every case, opposing parties

will inevitably offer differing interpretations of the law. What § 1292(b) is concerned with is a

difference of opinion among the courts. In re Baker & Getty Fin. Servs., Inc., 954 F.2d 1169,

1172 (6th Cir. 1992) (difference of opinion prong satisfied by circuit split).

       As pointed out by the parties, whether § 131.02 grants the Ohio Attorney General the

unfettered ability to assess collection costs against debtors is a matter of first impression in both

the Ohio courts and the Sixth Circuit.        But “the fact that this court addressed an issue

of first impression does not in and of itself demonstrate the existence of substantial ground for

difference of opinion.” Tri Cty. Wholesale Distributors, Inc. v. Labatt USA Operating Co., LLC,

No. 2:13-CV-317, 2015 WL 631092, at *5 (S.D. Ohio Feb. 12, 2015) (Marbley, J.) (collecting

cases). Indeed, in the Order, this Court reviewed other relevant statutory provisions, relevant

case law, legislative history, and due process concerns in reaching its conclusion that § 131.02

does not grant the power sought by GRC. (Doc. 27, Order at 9–16). While it is always possible

that another court could arrive at a different answer after considering the same authorities, GRC

has not carried its burden to demonstrate that a substantial ground for difference of opinion exists

regarding the correctness of the decision.

                                     IV.     CONCLUSION

       For the foregoing reasons, GRC’s Motion to Certify Decision for Interlocutory Appeal is

DENIED.
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       The parties are encouraged to reconsider their position on participation in the March

settlement week.   If the parties do wish to participate, they may contact Magistrate Judge

Jolson’s chambers to schedule a mediation through the Court.

       The Clerk shall remove Document 31 from the Court’s pending motions list.


              IT IS SO ORDERED.
                                                    /s/ George C. Smith
                                                   GEORGE C. SMITH, JUDGE
                                                   UNITED STATES DISTRICT COURT




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